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                         Exhibit 6
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                           IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE
   COMMISSION,

                  Plaintiff,                   DECLARATION OF GURBIR S.
                                               GREWAL IN SUPPORT OF PLAINTIFF
   v.                                          SECURITIES AND EXCHANGE
                                               COMMISSION’S RESPONSE TO THE
   DIGITAL LICENSING INC. (d/b/a “DEBT         COURT’S NOVEMBER 30, 2023 ORDER
   Box”), a Wyoming corporation; JASON R.      TO SHOW CAUSE
   ANDERSON, an individual; JACOB S.
   ANDERSON, an individual; SCHAD E.
   BRANNON, an individual; ROYDON B.
   NELSON, an individual; JAMES E.            Case No. 2:23-cv-00482-RJS
   FRANKLIN, an individual; WESTERN OIL
   EXPLORATION COMPANY, INC., a
   Nevada corporation; RYAN BOWEN, an
   individual; IX GLOBAL, LLC, a Utah limited Chief Judge Robert J. Shelby
   liability company; JOSEPH A. MARTINEZ,
   an individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT GROUP,
   LLC (d/b/a “CORE 1 CRYPTO”), a Utah
   limited liability company; TRAVIS A.
   FLAHERTY, an individual; ALTON O.
   PARKER, an individual; BW HOLDINGS,
   LLC (d/b/a the “FAIR PROJECT”), a Utah
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   limited liability company; BRENDAN J.
   STANGIS, an individual; and MATTHEW D.
   FRITZSCHE, an individual;

                  Defendants,

   ARCHER DRILLING, LLC, a Wyoming
   limited liability company; BUSINESS
   FUNDING SOLUTIONS, LLC, a Utah
   limited liability company; BLOX LENDING,
   LLC, a Utah limited liability company;
   CALMFRITZ HOLDINGS, LLC, a Utah
   limited liability company; CALMES & CO,
   INC., a Utah corporation; FLAHERTY
   ENTERPRISES, LLC, an Arizona limited
   liability company; IX VENTURES FZCO, a
   United Arab Emirates company; PURDY
   OIL, LLC, a Nebraska limited liability
   company; THE GOLD COLLECTIVE LLC,
   a Utah limited liability company; and UIU
   HOLDINGS, LLC, a Delaware limited
   liability company,

                  Relief Defendants.


         I, Gurbir S. Grewal, make the following declaration, in accordance with the provisions of

  28 U.S.C. § 1746:

         1.      I am currently employed by the U.S. Securities and Exchange Commission

  (“SEC”), Division of Enforcement, as its Director, a position I have held since July 2021. As

  Director of the Division of Enforcement, I am a Senior Officer of the SEC and am responsible

  for overseeing the work of the Division, which includes investigating and litigating securities

  actions on behalf of the SEC in federal court. I report directly to Gary Gensler, the SEC Chair.

         2.      Prior to serving as Director of the Division of Enforcement, I served in several

  prosecutorial positions. Immediately prior to coming to the SEC, I was the Attorney General for

  the State of New Jersey from January 2018 through July 2021. Before that, I served as the
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  Prosecutor for Bergen County, New Jersey, which has a population of nearly one million people.

  Earlier in my career, I served as an Assistant United States Attorney for the District of New

  Jersey, where I was Chief of the Economic Crimes Unit, and as an Assistant United States

  Attorney for the Eastern District of New York.

          3.      Given my prior prosecutorial experience, I fully appreciate the extraordinary

  responsibility entrusted to the SEC when enforcing federal securities laws, especially when

  seeking ex parte relief, and take the Court’s concerns seriously. It is my expectation that all

  attorneys in the Division accurately present to the courts the evidence in a particular case and the

  applicable law, at all times avoiding either misrepresentations or misleading representations to

  tribunals. It is also my expectation that if a Division attorney makes a mistake, it is quickly and

  appropriately addressed and corrected. I have consistently emphasized these expectations and

  the importance of maintaining trust and credibility in the work we do. I understand that the

  Division fell short of these standards in this case, and I apologize for that shortfall.

          4.      To that end, when the Court issued its November 30, 2023, Order to Show Cause,

  I directed senior Division personnel to immediately contact the SEC's Office of the General

  Counsel to request that they assist the Division in reviewing this matter and preparing a response

  to the Court.

          5.      In addition, I appointed Nicholas Heinke, Associate Regional Director for the

  Division of Enforcement in the SEC’s Denver Regional Office, a Senior Officer on my staff, to

  supervise this matter. While Mr. Heinke has been in his current role as a supervisor for less than

  one year, he has 10 years of experience as a trial attorney at the SEC and prior government

  experience, including as an Assistant Attorney General with the Office of the Colorado Attorney

  General. He will be supported by Gregory Kasper, the Regional Trial Counsel in the Denver



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